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     UNITED STATES DISTRICT COURT MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

                        CASE NO. 8:22-cv-00581-WFJ-AEP

HOLLY J. FRAZETTA, HEIDI L. FRAZETTA,
AND FRAZETTA PROPERTIES, LLC,

       Plaintiffs,

v.

VANGUARD PRODUCTIONS,                  LLC,      AND
JESSE DAVID SPURLOCK,

       Defendants.
                                                   /

               MOTION FOR EXTENSION OF TIME PURSUANT
              TO FEDERAL RULE OF CIVIL PROCEDURE 6-TIME

       Plaintiffs request an extension of time be granted to file their Brief from

Monday, March 11, 2024, to Tuesday, March 12, 2024.

                                       FACTS

       Plaintiffs’ counsel request the extension of time to file their Brief because

 Plaintiffs’ counsel was unable to complete it because of a previously existing medical

 issue.

       Plaintiffs and Defendants previously agreed to extension of time without the

 necessity of contacting each other each time.

                           MEMORANDUM OF LAW

       Federal Rule of Civil Procedure, Rule 6- Time provides in relevant part “(b)

Enlargement. When by these rules or by a notice given thereunder or by order of court
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an act is required or allowed to be done at or within a specified time, the court for

cause shown may at any time in its discretion.

      (1) with or without motion or notice order the period enlarged if request therefor

         is made before the expiration of the period originally prescribed or as

         extended by a previous order . . . ,”

      WHEREFORE, Plaintiffs respectfully request the Court GRANT the relief

requested herein and enlarge the time to file their Brief to March 12, 2024.

Defendants will not be damaged by this extension of time and have agreed to such

extensions.

  CERTIFICATION OF COMMUNICATION WITH OPPOSING COUNSEL

      I HEREBY CERTIFY that I contacted Defendants’ Attorney Leigh M.

Williams regarding enlargements of time and each attorney previously agreed to grant

each other requested enlargements of time.

Respectfully submitted on March 11, 2024.


                                 MERRITT LAW PA
                                 /s/ Jack W. Merritt
                                 Jack W. Merritt, Esq.
                                 FBN: 0052248
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                                 Osprey, FL 34229
                                 office@merrittlaw.net
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                                 Attorney for Plaintiffs
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                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY the foregoing Motion was furnished to Defendants'

attorney, Leigh M. Williams, Esq., on March 11, 2024, via CM/ECF.


                              MERRITT LAW PA
                              /s/ Jack W. Merritt
                              Jack W. Merritt, Esq.
                              FBN: 0052248
                              690 South Tamiami Trail
                              Osprey, FL 34229
                              Attorney for Plaintiffs
